Case 9:18-cr-80160-WPD Document 202 Entered on FLSD Docket 10/16/2022 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-cr-80160-DIMITROULEAS

   UNITED STATES OF AMERICA

   v.

   CLAUDIA PATRICIA DIAZ GUILLEN,

          Defendant.
                                                          /

             THE UNITED STATES’ REPLY TO DEFENDANT’S OPPOSITION
                    TO A MOTION FOR A STATUS CONFERENCE
          The United States of America, by and through the undersigned attorneys, hereby files

   this reply to Defendant Claudia Patricia Diaz Guillen’s (the “Defendant”) opposition to the

   United States’ motion for a status conference.

          Nowhere in the United States’ motion for a status conference did the United States

   accuse the Defendant or counsel for the Defendant of misconduct or violating a court order. The

   United States outlined the issue that prompted it to seek the status conference, as the United

   States views potential witness intimidation as a serious issue.

          The Protective Order, Docket Entry 117, defines as Sensitive Information the names of

   potential witnesses. [DE 117 at 1.] The Protective Order further states:

         IT IS FURTHER ORDERED that counsel of record for the defendant and counsel
         of record for the government shall give written notice (e.g., email) to any person to
         whom sensitive information in the Discovery and Reciprocal Discovery is disclosed
         that such information should be held in strict confidence and that further disclosure
         or dissemination is prohibited without counsel's express consent; and

         IT IS FURTHER ORDERED that counsel of record for the defendant and the
         government shall have each person to whom sensitive information is disclosed
         acknowledge receipt of the written notice. Counsel shall keep a copy of each written
         notice to identify the individuals who received the sensitive information in the
         Discovery or Reciprocal Discovery and the date on which such information was
         first disclosed.

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Case 9:18-cr-80160-WPD Document 202 Entered on FLSD Docket 10/16/2022 Page 2 of 2




          [DE 117 at 3.]

          Therefore, the United States respectfully requests that the Court hold the status

   conference as set per Docket Entry 198 in order to discuss ways to address this serious issue.

                                       Respectfully submitted,

         GLENN S. LEON                                JUAN ANTONIO GONZALEZ
         CHIEF, FRAUD SECTION                         UNITED STATES ATTORNEY

  By:    /s/ Paul A. Hayden               By:         /s/ Kurt K. Lunkenheimer
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